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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

CITRIX SYSTEMS, INC.,                           )
                                                )
               Plaintiff,                       )
                                                )   C.A. No. 18-588-LPS
       v.                                       )
                                                )   JURY TRIAL DEMANDED
WORKSPOT, INC.,                                 )
                                                )
               Defendant.                       )

                                 STIPULATION AND ORDER

       IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for Plaintiff

Citrix Systems, Inc. and Defendant Workspot, Inc., (“Workspot”), subject to the approval of the

Court, that Workspot shall file a 7-page Sur-Reply Brief in Further Opposition to Citrix’s TRO

Motion (D.I. 101) by December 7, 2018.

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Dated: November 26, 2018
6009160/45039                                      Attorneys for Defendant Workspot, Inc.


       SO ORDERED this __ day of November, 2018


                               _______________________________________________
                                     THE HONORABLE LEONARD P. STARK




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